            Case: 23-1187 Document:
Case 2:22-cv-12761-MAG-EAS  ECF No. 35   Filed: 09/05/2023
                                    50, PageID.2563           Page: 1 Page 1 of 1
                                                       Filed 09/05/23




                                        Case No. 23-1187

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



ELIZABETH K. KERWIN, Regional Director of Region 7 of the National Labor Relations
Board

              Petitioner - Appellee

v.

STARBUCKS CORPORATION

              Respondent - Appellant



     Upon consideration of the appellant's unopposed motion to voluntarily dismiss the appeal

herein pursuant to Rule 42(b), Federal Rules of Appellate Procedure,

     It is ORDERED that the motion is GRANTED and the appeal is dismissed.

                                                 ENTERED PURSUANT TO RULE 45(a),
                                                 RULES OF THE SIXTH CIRCUIT
                                                 Deborah S. Hunt, Clerk


Issued: September 05, 2023
                                                 ___________________________________
